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    8                       UNITED STATES DISTRICT COURT
    9        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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   11 LISA LIBERI, PHILIP J. BERG,             )    Case No. 8:11-CV-00485-AG (AJW)
      ESQUIRE, THE LAW OFFICES OF              )    Hon. Andrew Guilford
   12 PHILIP J. BERG, LISA M. OSTELLA          )    Courtroom 10D
      and GO EXCEL GLOBAL,                     )
   13                                          )    ORDER ON STIPULATION
               Plaintiffs,                     )    REGARDING DEFENDANTS’
   14                                          )    MOTIONS TO DISMISS, TO
                      vs.                      )    STRIKE, AND FOR ATTORNEYS’
   15                                          )    FEES
        ORLY TAITZ, a/k/a DR. ORLY TAITZ, )
   16   a/k/a LAW OFFICES OF ORLY TAITZ; )          Date Action Filed: May 4, 2009
        a/k/a WWW.ORLYTAITZESQ.COM )                Trial Date:             None
   17   a/k/a WWW.REPUBX.COM a/k/a             )
        ORLY TAITZ, INC. and DEFEND OUR )
   18   FREEDOMS FOUNDATIONS, INC., et )
        al.; and DOES 1 through 200 Inclusive, )
   19                                          )
               Defendants.                     )
   20   _______________________________________)

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   24         Pursuant to the Parties’ Stipulation Regarding Defendants’ Motions to Dismiss,
   25   to Strike, and for Attorneys’ Fees (Document 681), the Court makes the following
   26   Order:
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   28    ORDER ON STIPULATION REGARDING DEFENDANTS’ MOTIONS TO DISMISS, TO STRIKE, AND
                                    FOR ATTORNEYS’ FEES
Case 8:11-cv-00485-AG-RAO Document 682 Filed 07/13/16 Page 2 of 2 Page ID #:17052



    1         IT IS HEREBY ORDERED that the current date for Defendants, ORLY TAITZ,
    2   DEFEND OUR FREEDOMS FOUNDATIONS, ORLY TAITZ, INC. and LAW
    3   OFFICES OF ORLY TAITZ, to file and serve Motions pursuant to Fed. R. Civ. P.
    4   12(b)(1) and (6), and 12(f) to Plaintiffs’ First Amended Complaint is continued for to
    5   September 12, 2016.
    6         IT IS HEREBY FURTHER ORDERED that Defendants, ORLY TAITZ and
    7   DEFEND OUR FREEDOMS FOUNDATIONS, shall file and serve their Motion
    8   pursuant to California’s anti-SLAPP statute (Cal. Code of Civ. Pro. Section 425.16)
    9   seeking an award of attorneys’ fees and costs by September 12, 2016.
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   11   DATED: July 13, 2016                          _____________________________
   12                                                 Hon. Andrew J. Guilford
   13                                                 Judge of the United States District Court
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   28    ORDER ON STIPULATION REGARDING DEFENDANTS’ MOTIONS TO DISMISS, TO STRIKE, AND
                                    FOR ATTORNEYS’ FEES
